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                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          ANAJEAN PENNY,                                CASE NO. C18-5195JLR

11                               Plaintiff,               MINUTE ORDER
                   v.
12
            STATE FARM MUTUAL
13
            AUTOMOBILE INSURANCE
14          COMPANY,

15                               Defendant.

16          The following minute order is made by the direction of the court, the Honorable
17   James L. Robart:
18          In preparing the findings of fact and conclusions of law in this matter, the court
19   determined that Plaintiff’s Trial Exhibit 099, which was admitted as an exhibit at trial, is
20   an incomplete copy of the September 13, 2019 declaration of Wendy Votroubek, RN,
21   MPH, LNC. (See Tr. Ex. 099; see also Tr. Ex. List (Dkt. # 58).) The copy of Plaintiff’s
22   Trial Exhibit 099 does not include Exhibits 1-3 to Ms. Votroubek’s declaration. (See Tr.


     MINUTE ORDER - 1
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 1   Ex. 099.) Plaintiff submitted a full copy of Ms. Votroubek’s declaration to the court prior

 2   to trial, and the court has determined that the full copy of the declaration is admissible.

 3   Thus, the court admits Ms. Votroubek’s full declaration as Plaintiff’s Trial Exhibit 099.

 4   Any citations to Plaintiff’s Trial Exhibit 099 in the court’s forthcoming findings of fact

 5   and conclusions of law should be treated as citations to the complete declaration.

 6          Filed and entered this 6th day of November, 2020.

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                                                  WILLIAM M. MCCOOL
 8                                                Clerk of Court

 9                                                s/ Ashleigh Drecktrah
                                                  Deputy Clerk
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     MINUTE ORDER - 2
